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Form 9

  FORM 9. Certificate of Interest



  UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

               Soverain Software, LLC                v. Newegg Inc.
               ------------------------
                                               No. 2011-1009


                                    CERTIFICATE OF INTEREST
                                ~                                                            Umted States Court f Appec.s
 Counsel for the (petitioner~respondent) (appellee) (amicus) (name of party orlt....f :~r~· jrcuit
 Newegg Inc.                        certifies the following (use "None" if applicable; use extra sheets
 if necessary):
 1.       The full name of every party or amicus represented by me is:



      Newegg Inc.

 2.      The name of the real party in interest (if the party named in the caption is not the real
 party in interest) represented by me is:



   None

 3.      All parent corporations and any publicly held companies that own 10 percent or more
 of the stock of the party or amicus curiae represented by me are:



  None

 4. 0 The names of all law firms and the partners or associates that appeared for the party
 or amicus now represented by me in the trial court or agency or are expected to appear in this
 court are:
 The Webb Law Firm , David C. Hanson, Kent E. Baldauf, Jr., and Daniel H. Brean
 Pillsbury Winthrop, Claudia W. Frost; Sayles Werbner, Richard Sayles, Mark Strachan




         I o/~1 /!)DID
                  Date
                                                               Kent E. Baldauf, Jr.
                                                                   Printed name of counsel
 Please Note: All questions must be answered                                                         FILED
 cc: ______________________________                                                      U.S. COURT OF AP EALS FOR
                                                                                            THE FfOERA~ CRCUIT

                                                                                               OCT 2 2 2010
124                                                                                               JAN HORBALY
                                                                                                      CLERK
